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                 Appendix D: Plaintiffs’ Proposed Special Verdict Forms for the
                                Consumer Protection Classes
  Set forth below are suggested interrogatories that would be presented on Special Verdict Forms at
  Trial. This form is meant to be illustrative only, and not comprehensive. Plaintiffs may suggest
  changes to the special interrogatories herein. Moreover, the absence of any claim or state from the
  suggested classes is not intended to constitute a waiver of any claims currently, or in the future,
  brought in this action. Note also that, under some statutes, the Court and not a jury make the
  required findings.

                   UNFAIR AND DECEPTIVE CONDUCT CONSUMER PROTECTION CLASS

  Some states prohibit unfair and deceptive trade practices. These states are: California, Florida,
  Illinois, Iowa, Maryland, Massachusetts, New Jersey, New York, Ohio, and Washington.

           Do you find by a preponderance of the evidence the following:

           (i)      Did FCA engage in an unfair act or practice in the conduct of trade or
                    commerce?

                                  Yes                  No

           (ii)     Did FCA engage in a deceptive act or practice in the conduct of trade or
                    commerce?

                                  Yes                  No

           (iii)    Did FCA’s conduct cause Plaintiffs and the Class to lose money?

                                  Yes                  No

           (iv)     Have Plaintiffs proved by a preponderance of the evidence the amount of
                    money lost as a result of FCA’s conduct?

                                  Yes                  No

         If “yes,” complete the following blank: The Court awards damages to Plaintiffs and the
  Unfair and Deceptive Conduct Consumer Protection Class in the amount of $______________. (If
  you answered “no,” do not complete the blank.)




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                              OMISSIONS CONSUMER PROTECTION CLASS

  Some states prohibit a defendant from omitting or concealing material facts from consumers.
  These states are: Illinois, Michigan, Nevada, and New Jersey.

           Do you find by a preponderance of the evidence the following:

           (i)      Did FCA conceal or omit material facts in the conduct of trade or
                    commerce?

                                 Yes                  No

           (ii)     Did FCA’s conduct cause Plaintiffs and the Class to lose money?

                                 Yes                  No

           (iii)    Have Plaintiffs proved by a preponderance of the evidence the amount of
                    money lost as a result of FCA’s conduct?

                                 Yes                  No

          If “yes,” complete the following blank: The Court awards damages to Plaintiffs and the
  Omissions Consumer Protection Class in the amount of $______________. (If you answered “no,”
  do not complete the blank.)




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                   UNCONSCIONABLE ACTS OR PRACTICES CONSUMER PROTECTION CLASS

  Some states prohibit a “unconscionable” commercial practices. These states are: New Jersey,
  Texas, and Utah.

           Do you find by a preponderance of the evidence the following:

           (i)       Did FCA commit unconscionable commercial practices?

                                  Yes                  No

           (ii)      Did FCA’s conduct cause Plaintiffs and the Class to lose money?

                                  Yes                  No

           (iii)     Have Plaintiffs proved by a preponderance of the evidence the amount of
                     money lost as a result of FCA’s conduct?

                                  Yes                  No

          If “yes,” complete the following blank: The Court awards damages to Plaintiffs and the
  Unconscionable Acts or Practices Consumer Protection Class in the amount of $______________.
  (If you answered “no,” do not complete the blank.)




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